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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

DAVID PUCK,
     Plaintiff,

 -vs-                                                   Case No. 1:15-cv-196
                                                        Hon. Janet T. Neff
CAVALRY SPV I, LLC,
    Defendant.

                            STIPULATED ORDER OF DISMISSAL

        Having been advised by the parties that they have reached an agreement to settle the

above-captioned matter and upon the stipulation of the parties, it is

        ORDERED, that the above-captioned action be dismissed, with prejudice, and without

costs, sanctions or attorney’s fees to any party; and it is further

        ORDERED, that the Court, only for the purpose of enforcing the settlement of this matter,

shall either: (1) retain jurisdiction for a period of 45 days from the entry of its Order dismissing the

above-captioned action; or (2) entertain a motion to re-docket the above-captioned action within

45 days from the entry of its Order dismissing the action. JTN




         April 13, 2016
Dated: _________________________                          /s/ Janet T. Neff
                                                        __________________________________
                                                        JANET T. NEFF
                                                        United States District Judge
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Stipulated To By:

LYNGKLIP & ASSOCIATES                   PILGRIM CHRISTAKIS LLP
CONSUMER LAW CENTER, PLC


/s/ Carl Schwartz                       /s/ Jason Julien (w/consent)
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Dated: April 12, 2016
